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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

 

ATLANTA DIVISION
JEREMY ELLERBEE, and DONALD HARRIS, PLAINTIFFS
on behalf of themselves, and others similarly situated
Vv. No.:
JURY DEMANDED
FREEDOM SECURITY, INC., a domestic corporation,
and LINDA ROSSER, individually DEFENDANTS

COMPLAINT & DEMAND FOR JURY TRIAL

 

Plaintiffs, Jeremy Ellerbee and Donald Harris (collectively “‘Plaintiffs’”), were employees
of Defendants, Freedom Security, Inc., and Linda Rosser (collectively “Defendants”’) and bring
this action for unpaid overtime compensation, breach of contract, declaratory relief, and other
relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (the “FLSA”).
Plaintiffs were security guards and performed other related duties for Defendants in, among
others, Cobb County, Georgia.

1. Defendant Freedom Security, Inc., is a Georgia Corporation with its principal
place of business in Acworth, Georgia, that operates and conducts business in, among others,
Cobb County, Georgia, and is therefore, within the jurisdiction of this Court.

2, Defendant, Linda Rosser, is an adult resident citizen of Georgia, who owns and
operates Freedom Security, Inc., and, upon information and belief regularly exercises the
authority to: (a) hire and fire employees; (b) determine the work schedules for her employees;
and (c) control the finances and operations of the business. By virtue of having regularly
exercised that authority on behalf of Freedom Security, Inc., Ms. Rosser is an employer as

defined by 29 U.S.C. § 201 et. seq.
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ae This action is brought under the FLSA to recover from Defendants overtime
compensation, damages from breach of contract, liquidated damages, and reasonable attorneys’

fees and costs.

4. This Court has jurisdiction over Plaintiff's claim pursuant to 28 U.S.C. § 1331
and the FLSA.
5. This Court also has authority to grant declaratory relief under the FLSA pursuant

to the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.

6. Based upon information and belief, Defendants currently are and at all material
times were an enterprise as defined by 29 U.S.C. § 203(r) and (s), as it is believed that
Defendants have an annual business dollar volume of at least $500,000.

7. Defendants are engaged in interstate commerce.

8. Defendants have two or more employees of their enterprise individually engaged
in commerce or who otherwise individually meet the traditional test of individual coverage.

o, Plaintiffs were individually covered by the FLSA as they utilized the
instrumentalities of commerce in performing their security guard duties.

10. Defendants refused to properly pay Plaintiffs for all hours worked.

11. At all times relevant to this action, Defendants failed to comply with 29 USC §§
201-209, because Plaintiffs, performed services for Defendants for which no provisions were
made by Defendants to properly pay Plaintiffs for each and every hour worked during their
employment with the Defendant.

12. During their employment with Defendants, Plaintiffs were not paid for each hour

worked.
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he Plaintiffs never received certain paycheck’s due and owing, and Defendants have
willfully refused to pay Plaintiffs for all of their hours worked.

14. Upon information and belief, the records — to the extent such records exist —
concerning the number of hours worked, the pay Plaintiffs earned, and the amounts actually paid
to Plaintiffs are in the possession, custody, or control of Defendants.

COUNT ONE:
FAILURE TO PAY OVERTIME COMPENSATION

18, Plaintiffs reassert and incorporate by reference all previous paragraphs.

16. Plaintiffs and other similarly situated employees are entitled to be paid overtime
compensation at one and one half times their regular rate of pay for each hour worked in excess
of forty (40) hours in any work given week.

17. During their employment with Defendants, Plaintiffs and other similarly situated
employees worked overtime hours.

18, Defendants failed to compensate Plaintiffs and other similarly situated employees
at one and one-half times their regular rate of pay for overtime hours that they worked, in
violation of the FLSA.

19, This action is brought pursuant to the FLSA to recover from Defendants overtime
compensation, liquidated damages, and reasonable attorneys’ fees and costs. This action is
intended to include each and every similarly situated, hourly paid employee who worked for
Defendants at any time within the past three (3) years.

20. This Honorable Court has jurisdiction over Plaintiff's claims pursuant to 28
U.S.C.§ 1337 and the FLSA. This Court also has authority to grant declaratory relief under the

FLSA pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201 et seg.
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els At all relevant times, Defendants were an enterprise covered by the FLSA as
defined by 29 U.S.C. §§ 203 (r) and 203 (s). Additionally, Plaintiffs and those similarly situated
were engaged in interstate commerce during their employment with Defendants.

22: At all relevant times, Defendants failed to pay Plaintiffs and other similarly
situated employees at one and one-half times their regular pay rate for services they rendered to
Defendants beyond a forty (40) hour workweek. As such, Defendants failed to comply with 29
U.S.C. §§ 201-209.

23. Any additional persons who may become plaintiffs in this action are employees
(or former employees) of Defendants who, like Plaintiffs, were not compensated at one and one-
half times their regular rate of pay for hours worked in excess of forty (40) hours during one or
more work weeks within the past three (3) years.

24, Upon information and belief, official records documenting the hours worked by
Plaintiffs and similarly situated employees — to the extent such records exist — are in the
possession, custody, and control of Defendants.

Count Two:
BREACH OF CONTRACT

2D Plaintiff reasserts and incorporates by reference all previous paragraphs.

20. Defendants verbally agreed to pay the Plaintiffs and other similarly situated
employees a bi-weekly gas allowance of $2.00 per hour worked by Plaintiffs to offset the fuel
costs that Plaintiffs necessarily incurred in the performance of his duties as Defendant’s
employee.

27. Plaintiffs and those similarly situated to the Plaintiffs agreed to work for
Defendants under the aforesaid terms and conditions, and they relied upon same in their

decisions to enter into Defendant’s employ.
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28. Notwithstanding this agreement, Defendants failed to compensate the Plaintiffs
and similarly situated employees as agreed, constituting a breach of said verbal agreement.

29. As a result of said breach, the Plaintiffs and other similarly situated employees
suffered damages.

30. Defendants agreed to pay Plaintiffs at an hourly rate for all of the work performed
by Plaintiffs.

31. Notwithstanding this agreement, Defendants failed to compensate Plaintiffs for all
of their hours worked.

32, Notwithstanding this agreement, Defendants failed to pay Plaintiffs any
significant compensation for several weeks of their employ, constituting a breach of said
agreement.

REQUESTED RELIEF

33.  Defendant’s failure to adequately compensate the Plaintiffs and similarly situated
employees was intentional, willful, and/or reckless.

34, As a result of Defendant’s intentional, willful, and/or reckless refusal to lawfully
compensate the Plaintiffs and other similarly situated employees for services they rendered to
Defendants, the Plaintiffs and Plaintiff's similarly situated co-workers have suffered damages
and incurred reasonable attorney’s fees and costs.

35. Asa result of Defendant’s intentional, willful, and/or reckless violation(s) of the
FLSA, the Plaintiffs and other similarly situated employees are entitled to liquidated damages
from Defendants.

36. Plaintiffs respectfully demand a trial by jury.
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WHEREFORE, Plaintiffs hereby seek judgment against Defendants ordering payment of
all unpaid wages found to be due and owing under the FLSA and their employment agreements,
pre-judgment and post-judgment interest where applicable, payment of liquidated damages,
payment of reasonable attorneys’ fees and costs incurred as a result of this litigation, declaratory
relief, and such further relief as this Honorable Court may deem to be just and proper.

Respectfully submitted,

MORGAN & MORGAN, PA

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